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AO 2458 (CASDRev. 08/l3) Judgment in a Criminal Case


                                         UNITED STATES DISTRICT COURT
                                             SOUTHERN DISTRICT OF CALIFORNIi\;R -4 fJl S: 28
              UNITED STATES OF AMERICA                                JUDGMENT IN A &INi).L,CAsE
                                    V.                                (For Offenses Committed On or After November 1, 1987)
             SERYOZHA HARUTYUNYAN (8)                                                          2C   2              .'"
                                                                        Case Number:          1 R435 -JLS

                                                                      SEV AG NIGOGHOSIAN
                                                                      Defendant's Attorney
REGISTRATION NO.                    63853112
o
IZI    pleaded guilty to count(s)          One of the Indictment
                                          -----------------------------------------------------------
       was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                          Count
Title & Section                          Nature of Offense                                                               Numberls)
18 USC 371                               CONSPIRACY                                                                         1




    The defendant is sentenced as provided in pages 2 through                    5           ofthis judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
o Count(s)                                                       is           dismissed on the motion ofthe United States.
                 -----------------------------
 IZI   Assessment: $100.00 imposed



 IZI   No fine                           Forfeiture pursuant to order filed                                      , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                      March 28. 2014
                                                                      Date of Imposition of Sentence




                                                                                                                         12CR4352-JLS
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AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:               SERYOZHA HARUTYUNYAN (8)                                                Judgment - Page 2 of5
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                                                IMPRISONMENT
The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of:
Six (6) Months




o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
IZI   The court makes the following recommendations to the Bureau of Prisons:

      Incarceration in Southern California




o     The defendant is remanded to the custody of the United States Marshal.

      The defendant shall surrender to the United States Marshal for this district:
      o     at                            A.M.               on
               ------------------
            as notified by the United States Marshal.
                                                                  --------------------------------------
      The defendant shall surrender for service of sentence at the institution designated by the Bureau of
      Prisons:
      IZl   on or before August 15,2014 by 12:00 PM.
            as notified by the United States Marshal.
      o     as notified by the Probation or Pretrial Services Office.

                                                      RETURN

I have executed this judgment as follows:

      Defendant delivered on   ___________________________ to

at _______________ , with a certified copy of this judgment.


                                                                  UNITED STATES MARSHAL



                                    By                    DEPUTY UNITED STATES MARSHAL



                                                                                                        12CR4352-JLS
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    AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

    DEFENDANT:                   SERYOZHA HARUTYUNY AN (8)                                                                    Judgment - Page 3 of 5
    CASE NUMBER:                 12CR4352-JLS

                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
Three (3) Years


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13. 1994:
The defendant shall not i\Iegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shaH submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of mOre than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
          substance abuse. (Check, if applicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
          The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
          Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et
o         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
o         The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

          If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule
     of Payments set forth in this judgment.
         The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
     with any special conditions imposed.
                                        STANDARD CONDITIONS OF SUPERVISION
     I)  the defendant shall not leave the judicial district without the pennission of the court or probation officer;
     2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer:
     3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)  the defendant shall support his or her dependents and meet other family responsibilities;
     5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
         reasons;
     6) the defendant shall noti1}' the probation officer at least ten days prior to any change in residence or employment;
     7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
         any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
         unless granted pennission to do so by the probation officer;
     10) the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any contraband
         observed in plain view of the probation officer;
     11) the defendant shall noti1}' the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12) the defendant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the pennission of
         the court; and
     13) as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal record or
         personal history or characteristics and shall pennit the probation officer to make such notifications and to confinn the defendant's compliance
         with such notification requirement.



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DEFENDANT:            SERYOZHA HARUTYUNY AN (8)                                               Judgment - Page 4 of 5
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                                SPECIAL CONDITIONS OF SUPERVISION



Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a
reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a
violation of a condition of release; failure to submit to a search may be grounds for revocation; the defendant
shall warn any other residents that the premises may be subject to searches pursuant to this condition.

If deported, excluded or allowed to voluntary return to country of origin, not reenter the United States illegally
and report to the probation officer within 24 hours of any reentry into the United States; supervision waived
upon deportation, exclusion, or voluntary departure.

Report all vehicles owned or operated, or which you have an interest, to the probation officer.

Provide complete disclosure of personal and business financial records to the probation officer as requested.

Be prohibited from opening checking account or incurring new credit charges or opening additional lines of
credit without approval of the probation officer.

The defendant will notify the Collections Unit, U.S. Attorney's Office, before any interest in property obtained
directly or indirectly, including any interest obtained in any other name or entity, including trusts, partnership or
corporation after the execution of the plea agreement or until the restitution amount is paid in full.




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DEFENDANT:             SERYOZHA HARUTYUNYAN (8)                                                Judgment - Page 5 of 5
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                                           RESTITUTION

The defendant shall pay restitution in the amount of   $106,370.00           unto the United States of America.

This sum shall be paid as follows:

   1. Pay restitution in the amount of $1 06,3 70.00 Gointly and severally) to Citigroup, Inc., through the Clerk,
      U.S. District Court. Payment of restitution shall be forthwith. During any period of incarceration the
      defendant shall pay restitution through the Inmate Financial Responsibility Program at the rate of 50%
      of the defendant's income, or $25.00 per quarter, whichever is greater. The defendant shall pay the
      restitution during his supervised release at the rate of $2,955.00 per month. These payment schedules do
      no foreclose the United States from exercising all legal actions, remedies, and process available to it to
      collect the restitution judgment.


   2. Until restitution has been paid, the defendant shall notify the Clerk ofthe Court and the United States
      Attorney's Office of any changes in the defendant's mailing or residence address, no later than thirty
      (30) days after the changes occurs.




The Court has determined that the defendant     does not    have the ability to pay interest. It is ordered that:
     The interest requirement is waived




                                                                                                      12CR4352-JLS
